           Case 3:17-cv-02183-MEM Document 77 Filed 08/28/20 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT STOUD,                                    :
                                                 :
                                 Plaintiff       :   CIVIL ACTION - LAW
                                                 :
            v.                                   :
                                                 :
SUSQUEHANNA COUNTY,                              :   NO. 3:17-CV-2183-MEM
                                                 :
                               Defendant         :

  BRIEF IN OPPOSITION PLAINTIFF’S MOTION IN LIMINE TO PERMIT
 PLAINTIFF TO CALL MICHAEL GIANGRIECO AS A WITNESS AT TRIAL

      Defendants, Susquehanna County, through its Attorneys, Kreder Brooks

Hailstone LLP, hereby file the following Brief in Support of Motion in Limine:

      I.         Argument

      Plaintiff presents two arguments in support of his claim that the former

County Solicitor of Susquehanna County can testify as a witness against his

former client.

      Fist, Plaintiff claims, without any legal support, that Attorney Giangrieco

was not acting as the County’s Attorney when providing advice to the

Commissioners. Plaintiff opines that because defense counsel had been engaged to

represent the County, Attorney Giangrieco was no longer the County’s Solicitor.



                                             1
         Case 3:17-cv-02183-MEM Document 77 Filed 08/28/20 Page 2 of 5




This is not true. Giangrieco can not pick and choose when he is acting as the

County’s attorney and when he is acting as counsel. In fact, once the attorney-

client relationship is established, only the client has the absolute right to terminate

an attorney-client relationship for any reason. Richette v. Solomon, 410 Pa. 6, 187

A.2d 910, 917 (1963). Attorney Giangrieco has no right to pick and choose when,

or whether, he is acting on the County’s Attorney.

      Second, Plaintiff seeks to have Attorney Giangrieco testify against his

former client under the crime-fraud exception.

      The United States Supreme Court has explained that the crime-fraud

exception is a limit on the scope of attorney-client privilege, however, that limit is

very narrow because the attorney-client privilege must necessarily protect the

confidences of wrongdoers. United States v. Zolin, 491 U.S. 554, 562–63, 109

S.Ct. 2619, 105 L.Ed.2d 469 (1989). To circumvent these privileges under the

crime-fraud exception, the party seeking to overcome the privilege “must make a

prima facie showing that (1) the client was committing or intending to commit a

fraud or crime, and (2) the attorney-client communications were in furtherance of

that alleged crime or fraud.” In re Grand Jury, 705 F.3d 133, 153–54 (3d Cir.

2012).

      The Third Circuit, in In Re Grand Jury, went on to state that it “would be

                                           2
        Case 3:17-cv-02183-MEM Document 77 Filed 08/28/20 Page 3 of 5




absurd to say that the privilege could be got rid of merely by making a charge of

fraud.” To defeat privilege, there must be something other than an accusation. Id.

Only when evidence is supplied, will the seal of secrecy be broken. Id. Plaintiff

has offered no evidence other than the statements of a disgruntled former

employee of the Susquehanna County.

      The Third Circuit has articulated that standard as: “Where there is a

reasonable basis to suspect that the privilege holder was committing or intending

to commit a crime or fraud and that the attorney-client communications or attorney

work product were used in furtherance of the alleged crime or fraud” The

reasonable basis standard “is intended to be reasonably demanding; neither

speculation nor evidence that shows only a distant likelihood of corruption is

enough.” In re Grand Jury Proceedings, 417 F.3d at 23.

      Plaintiff has supplied no basis for its claim that the crime fraud exception is

applicable.




      WHEREFORE, the Defendant, Susquehanna County, respectfully request

the Court to issue an Order denying Plaintiff’s Motion in Limine.

                                          3
       Case 3:17-cv-02183-MEM Document 77 Filed 08/28/20 Page 4 of 5




                              Respectfully submitted,

                              KREDER BROOKS HAILSTONE LLP


220 Penn Avenue, Suite 200
Scranton, PA 18503           By /s/ A. James Hailstone
(570) 346-7922                  A. James Hailstone
                                Attorney I.D. #80055
                                Attorneys for Susquehanna County




                                     4
       Case 3:17-cv-02183-MEM Document 77 Filed 08/28/20 Page 5 of 5




                        CERTIFICATE OF SERVICE

AND NOW, this 28th day of August, 2020, A. James Hailstone, a member of the
firm of Kreder Brooks Hailstone LLP, electronically filed the foregoing Brief in
Opposition with the Clerk of the United States District Court for the Middle
District of Pennsylvania using the CM/ECF system which sent notification of such
filing to the following Filing Users at the following e-mail address(es):


                          Gerard M. Karam, Esquire
                      Mazzoni, Karam, Petorak & Valvano
                         321 Spruce Street, Suite 201
                             Scranton, PA 18503
                                570-348-0776
                            gkaram18@msn.com
                        ATTORNEYS FOR PLAINTIFF


                                     /s/ A. James Hailstone
                                     A. James Hailstone
                                     Attorney I.D. #80055
                                     Attorneys for Defendant
